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                         EXHIBIT B
                (Updated Privilege Log)
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              Donna Curling, et al. v. Brian P. Kemp, et al. Privilege Log



      Author               Recipient              Privileges           Description              Date*
Jennifer Herzog,       Jennifer Herzog,       Attorney-Work        Written                  All authors and
Esq., Tony Rowell,     Esq., Tony Rowell,     Product, Attorney-   communications           recipients were
Esq., Nick Kinsley,    Esq., Nick Kinsley,    Client               between attorneys        employed by
Esq., Rebekah Ditto,   Esq., Rebekah Ditto,                        regarding responses to   Hall Booth
Esq.                   Esq.                                        open records requests    Smith, P.C. and
                                                                   and the Curling          served as the
                                                                   subpoenas.               County Attorney
                                                                                            for Coffee
                                                                                            County at all
                                                                                            relevant times.
Jennifer Herzog,       Jennifer Herzog,       Attorney-Work        Written                  All authors and
Esq., Tony Rowell,     Esq., Tony Rowell,     Product, Attorney-   communications           recipients were
Esq., Nick Kinsley,    Esq., Nick Kinsley,    Client               between attorneys        employed by
Esq., Rebekah Ditto,   Esq., Rebekah Ditto,                        regarding general        Hall Booth
Esq.                   Esq.                                        representation of the    Smith, P.C. and
                                                                   Board of Elections.      served as the
                                                                                            County Attorney
                                                                                            for Coffee
                                                                                            County at all
                                                                                            relevant times.
Jennifer Herzog,       Jennifer Herzog,       Attorney-Work        Written                  All authors and
Esq., Tony Rowell,     Esq., Tony Rowell,     Product, Attorney-   communications           recipients were
Esq., Nick Kinsley,    Esq., Nick Kinsley,    Client               between attorneys        employed by
Esq., Stephen Delk,    Esq., Stephen Delk,                         regarding responses to   Hall Booth
Esq.                   Esq.                                        the Curling              Smith, P.C. and
                                                                   subpoenas.               served as the
                                                                                            County Attorney
                                                                                            for Coffee
                                                                                            County at all
                                                                                            relevant times.
Jennifer Herzog,       Wesley Vickers,        Attorney-Client      Written                  Coffee County
Esq., Tony Rowell,     Jennifer Herzog,                            communications           hired Wesley
Esq., Wesley Vickers   Esq., Tony Rowell,                          regarding general        Vickers before
(Coffee County         Esq.                                        representation of the    July 1, 2020
Administrator)                                                     Board of Elections,      (relevant time
                                                                   responding to open       period). All
                                                                   records requests and     communications
                                                                   the Curling              occurred when
                                                                   subpoenas.               Hall Booth
                                                                                            Smith, P.C. or
                                                                                            its attorneys
                                                                                            served as
                                                                                            County Attorney
                                                                                            of Coffee
                                                                                            County.
Jennifer Herzog,       Tracie Vickers,        Attorney-Client      Written                  Coffee County
Esq., Nick Kinsley,    Jennifer Herzog,                            communications           hired Tracie
Esq., Tracie Vickers   Esq., Nick Kinsley,                         regarding responding     Vickers before
(Coffee County         Esq.                                        to open records          July 1, 2020
Clerk)                                                             requests and the         (relevant time
                                                                   Curling subpoenas.       period). All
                                                                                            communications
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                                                                                        occurred when
                                                                                        Hall Booth
                                                                                        Smith, P.C. or
                                                                                        its attorneys
                                                                                        served as
                                                                                        County Attorney
                                                                                        of Coffee
                                                                                        County.
Jennifer Herzog,       Rachel Roberts,       Attorney-Client   Written                  Communications
Esq., Rachel Roberts   Jennifer Herzog,                        communications           began on or after
(current Coffee        Esq.                                    regarding responses to   December 13,
County Elections                                               open records requests    2021 and remain
Supervisor)                                                    and the Curling          ongoing.
                                                               subpoenas.
Jennifer Herzog,       James Barnes,         Attorney-Client   Written                  Communications
Esq., Tony Rowell,     Jennifer Herzog,                        communications           (except for
Esq., James Barnes     Esq., Tony Rowell,                      regarding general        communications
(former Coffee         Esq.                                    elections office         relating to the
County Elections                                               representation,          Curling
Supervisor)                                                    responses to open        subpoenas)
                                                               records requests and     began on or after
                                                               the Curling              April 1, 2021,
                                                               subpoenas.               2021 and ceased
                                                                                        on or before
                                                                                        December 3,
                                                                                        2021, coinciding
                                                                                        with James
                                                                                        Barnes’
                                                                                        employment
                                                                                        with Coffee
                                                                                        County.
                                                                                        Communications
                                                                                        regarding the
                                                                                        Curling
                                                                                        subpoenas began
                                                                                        on July 13, 2022
                                                                                        and remain
                                                                                        ongoing.
Jennifer Herzog,       Misty Hampton,        Attorney-Client   Written                  Communications
Esq., Misty Hampton    Jennifer Herzog,                        communications           began on or after
(former Coffee         Esq.                                    regarding responses to   July 1, 2020
County Elections                                               open records requests.   (relevant time
Supervisor)                                                                             period) and
                                                                                        ceased on or
                                                                                        before February
                                                                                        25, 2021,
                                                                                        coinciding with
                                                                                        Misty
                                                                                        Hampton’s
                                                                                        employment
                                                                                        with Coffee
                                                                                        County.
Jennifer Herzog,       Board of Elections    Attorney-Client   Written                  Communications
Esq., Board of         Member(s), Jennifer                     communications           occurred
Elections Member(s)    Herzog, Esq.                            regarding responses to   between Jennifer
                                                               open records request     Herzog and
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                                                                  and the Curling      members of the
                                                                  subpoenas.           Board of
                                                                                       Elections during
                                                                                       the board
                                                                                       members’
                                                                                       respective
                                                                                       tenures as
                                                                                       members of the
                                                                                       board.
Jennifer Herzog,       Board of Elections    Attorney-Client      Written              Communications
Esq., Tony Rowell,     Member(s), Jennifer                        communications       occurred
Esq., Board of         Herzog, Esq., Tony                         regarding various    between Jennifer
Elections Member(s)    Rowell, Esq.                               elections matters.   Herzog, Tony
                                                                                       Rowell and
                                                                                       members of the
                                                                                       Board of
                                                                                       Elections during
                                                                                       the board
                                                                                       members’
                                                                                       respective
                                                                                       tenures as
                                                                                       members of the
                                                                                       board.
Jennifer Herzog,       Wesley Vickers,       Attorney-Work        Written              Coffee County
Esq., Wesley Vickers   Jennifer Herzog,      Product              communications       hired Wesley
                       Esq.                                       regarding SEB2020-   Vickers before
                                                                  250.                 July 1, 2020
                                                                                       (relevant time
                                                                                       period). All
                                                                                       communications
                                                                                       occurred when
                                                                                       Hall Booth
                                                                                       Smith, P.C. or
                                                                                       its attorneys
                                                                                       served as
                                                                                       County Attorney
                                                                                       of Coffee
                                                                                       County.
Tony Rowell, Esq.,     Tony Rowell, Esq.,    Attorney-Work        Written              All authors and
Nick Kinsley, Esq.,    Nick Kinsley, Esq.,   Product, Attorney-   communications       recipients were
Rebekah Ditto, Esq.    Rebekah Ditto, Esq.   Client               regarding SEB2020-   employed by
                                                                  250.                 Hall Booth
                                                                                       Smith, P.C. at all
                                                                                       relevant times
                                                                                       and served as
                                                                                       the County
                                                                                       Attorney for
                                                                                       Coffee County
                                                                                       at all relevant
                                                                                       times.
Rebekah Ditto, Esq.                          Attorney-Work        Attorney’s notes     December 7,
                                             Product              regarding SEB2020-   2021 –
                                                                  250                  December 13,
                                                                                       2021. However,
                                                                                       Rebekah Ditto
                                                                                       was employed
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                                                                                                   with Hall Booth
                                                                                                   Smith, P.C.,
                                                                                                   which served as
                                                                                                   County Attorney
                                                                                                   for Coffee
                                                                                                   County at this
                                                                                                   time.
Rebekah Ditto, Esq.,     Board of Elections      Attorney-Client         Written                   December 7,
Nick Kinsley, Esq.,      Member(s).                                      communications            2021 –
Board of Elections       Rebekah Ditto, Esq.,                            regarding SEB2020-        December 13,
Member(s)                Nick Kinsley, Esq.                              250                       2021. All
                                                                                                   communications
                                                                                                   occurred during
                                                                                                   the board
                                                                                                   members’
                                                                                                   respective
                                                                                                   tenures as
                                                                                                   members of the
                                                                                                   board.
Rebekah Ditto, Esq.,     Wesley Vickers,                                   Written                 December 14,
Wesley Vickers,          Rachel Roberts,                                   communications          2021 –
Rachel Roberts           Rebekah Ditto, Esq.                               regarding SEB2020-      December 15,
                                                                           250.                    2021
Board of Elections       Rebekah Ditto, Esq. Attorney-Client,              Diagram for defense     December 13,
Member(s)                                         Work Product             of SEB2020-250          2021
Jennifer Herzog,         Greg Hecht, Esq.,        Attorney-Client,         Written                 July 13, 2022 -
Esq., Greg Hecht,        Ed Buckley, Esq.,        Work Product             communications          present
Esq., and Ed             Jennifer Herzog,                                  regarding
Buckley, Esq.            Esq.                                              representation of Ms.
                                                                           Earnestine Thomas-
                                                                           Clark relating to
                                                                           Curling and Secretary
                                                                           of State.
F.R.C.P. 26(b)(5)(A)(ii) only requires that the party describe the nature of the privileged material in a manner that
will enable you to assess the claim. If you assert that a date is required, please provide the citation for same so
that we may consider the matter further. The information provided above allows you to sufficiently assess the
asserted privileges. The date is largely irrelevant as the dates of employment and the dates of holding positions
on the board encompass the “relevant time period.” With the exception of James Barnes, who expressly retained
our firm to represent him in responding to the Curling subpoenas, communications with employees or
representatives of Coffee County occurred only during their tenure with Coffee County. It would be unduly
burdensome to non-party Coffee County to require the identification of these irrelevant dates.
